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                      IN THE UNITED STATES COURT OF APPEALS
                             FOR THE FOURTH CIRCUIT



        UNITED STATES OF AMERICA,

                                       Appellant,

                     v.                                               Appeal No. 22-4609

        RANDY PRICE,

                                       Appellee.


                                   MOTION TO EXTEND TIME
                                   TO FILE APPELLEE’S BRIEF

              Comes now the Appellee, Randy Price, by his counsel, pursuant to Rule 31(c) of

        the Local Rules of the Fourth Circuit, and respectfully moves this Court to grant an

        extension of approximately 30 days of the due date for his brief, making it due on or

        before February 6, 2023. In support of this motion, undersigned counsel represents:

              1.     Pursuant to the briefing order of this Court filed on November 19, 2022,

        the Government filed its brief and the joint appendix for this appeal on December 15,

        2022. Price’s brief in response is currently due on January 5, 2023.

              2.     On December 23, 2022, Amicus Curiae briefs were filed by Everytown for

        Gun Safety; Brady & March for Our Lives; and the District of Columbia, et al.

              3.     Undersigned counsel Byrne is also counsel in the following cases pending

        before this Court:
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                     a. United States v. Jackson, Appeal No. 22-4159, with a brief and joint

                        appendix due on January 4, 2023.

                     b. United States v. Nutter, Appeal No. 22-4541, with a brief and joint

                        appendix due on January 9, 2023.

                     c. United States v. Perwaiz, 21-4255, with a brief and joint appendix due on

                        January 17, 2023. As set forth in counsel’s motion to extend the due

                        date in that appeal, it arises from a multi-week trial with a transcript of

                        nearly 3000 pages. Appeal No. 21-4255, Dkt. No. 53.

              4.     In addition to those obligations, undersigned counsel Byrne is also

        scheduled to be on combined annual and holiday leave between December 26, 2022,

        and January 3, 2023.

              5.     This appeal involves, in addition to the Government’s briefing, briefing by

        various amici in support of the Government, presenting undersigned counsel with

        additional arguments to analyze and respond to, if necessary.

              6.     In light of undersigned counsel’s obligations at present, counsel feels they

        will be unable to adequately complete the review of the briefs filed in this matter and

        conduct the necessary research on issues in order to prepare his brief for filing on or

        before January 5, 2023.

              7.     Pursuant to Local Rule of the Fourth Circuit 27(a), undersigned counsel

        has contacted the attorney representing the Appellant in this case of the filing of this


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        motion via email to determine if the United States has any objection to the relief

        requested. They have authorized undersigned counsel to inform the Court that the

        Government has no objection to the relief requested in this motion.

              WHEREFORE, Appellant requests an extension of time of approximately 30

        days in which to file the opening brief and joint appendix in this appeal, making them

        due on February 6, 2023.

        Date: December 27, 2022                        Respectfully submitted,

                                                       RANDY PRICE
                                                       By Counsel

        WESLEY P. PAGE
        FEDERAL PUBLIC DEFENDER

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